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              IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF OHIO
                           EASTERN DIVISION


WILLIAM F. SPENCER,                         )
  9380 St. Clair Avenue
  Cleveland, OH 44108,                      )

                                 Plaintiff, )

            -vs-                            )   COMPLAINT

                                            ) Trial by Jury Endorsed Hereon

CLEVELAND PUBLIC LIBRARY,                   )
  325 Superior Avenue
  Cleveland, OH 44114                       )

                              Defendant. )



                       NATURE OF THE ACTION

   1.     This is an action instituted under the Age Discrimination in

Employment Act of 1967, as amended, 29 U.S.C. §§ 621, et seq., and the Ohio

Civil Rights Act, Ohio Revised Code §§ 4112.01, et seq., to vindicate state and

federally protected rights against unlawful employment practices on the basis

of age.
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                          JURISDICTION AND VENUE

   2.   Jurisdiction is invoked pursuant to the Age Discrimination in

Employment Act (“ADEA”), 29 U.S.C. §§ 626 (b) and (c), federal jurisdiction

pursuant to 28 U.S.C. §§ 1331(A), 1337 and 1343(3) and (4) and supplemental

federal jurisdiction over asserted state law claims pursuant to 28 U.S.C. § 1367.

With respect to ADEA claims, jurisdiction arises out the timely filing of this

complaint pursuant to receipt of a Notice of Right to Sue on dated November

2, 2021, postmarked November 4, 2021 and received shortly thereafter.. The

notice and postmarked envelope accompany this complaint and are

incorporated by reference as Exhibit A.

   3.   With respect to the Ohio Civil Rights Act, Ohio Revised Code §§

4112.01, et seq., jurisdiction is invoked pursuant to 28 U.S.C. § 1367.

   4.   Venue in this Court is proper because the unlawful employment

actions and practices alleged were and continue to be committed within the

jurisdiction of the United States District Court for the Northern District of

Ohio, Eastern Division.

                                    PARTIES

   5.    Plaintiff WILLIAM F. SPENCER is a 76-year-old African American

male who, at all relevant times, was employed and continues to be employed

by defendant and who has sought to perform his duties free from restrictions

on account of age and from retaliation for engaging in a protected activity.
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   6.   Defendant      CLEVELAND             PUBLIC      LIBRARY    (hereinafter,

“Cleveland Public Library” or “Library””) is an employer as defined by the

ADEA and by the Ohio Civil Rights Act and at all relevant times was and

continues to be the employer of the plaintiff.

   7.   Plaintiff William F. Spencer reasserts the foregoing allegations and

incorporates them by reference as if fully set forth herein.

   8.   Mr. Spencer is a man of deep and vast worldwide experience in

military, corporate and community relations.

   9.   From 1964 through 1978 Mr. Spencer served in the United States

Marine Corp ending his military service as Captain, one of the Marine Corps’

relatively few Black Captains at the time.

   10. His service throughout the United States, Europe and Asia exposed

Mr. Spencer to national and international cultures, languages and people as

broad as it was diverse.

   11. A highly decorated Marine, he is the recipient of, inter alia, the

Presidential    Unit       Commendation,       Vietnam     Meritorious   United

Commendation Cross of Gallantry and Combat Action Ribbon.

   12. As with his broad military accomplishments, Mr. Spencer held

significant responsibilities to major corporations and non-profit organizations

including serving as Motorola, Inc.’s Personnel Administrator, William’s &

Wilkin’s Publishing Company’s Educational Sales Representative, Director of
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Admissions of the Maryland Institute of Technology and Director of

Employment Services of the Baltimore Urban League.

   13. Locally, Mr. Spencer served as a mathematics instructor, academic

programs supervisor and residential living supervisor of the Cleveland Job

Corps Center.

   14. Mr. Spencer’s academic accomplishments have also been exemplary.

   15. Mr. Spencer is the recipient of the John P. McNulty Scholarship

where he is completing his Master of Arts in Humanities at John Carroll

University.

   16. Mr. Spencer received an earlier master’s degree, a Masters in Library

and Information Science (Medical), from the University of Pittsburgh and his

undergraduate from Chapman University, Orange County, California.

   17. He is the recipient of an Associate of Arts degree from Cuyahoga

Community College and has a Teaching Credential (#108188) from the State

of California for adult education (valid for life).

   18. In April, 2005, plaintiff William F. Spencer was hired by the Cleveland

Public Library as a library assistant which required his active travel and

involvement at many of the more than two dozen Library branches as well as

the main library.

   19. The initial position facilitated a greater understanding of the Library’s

system by travelling to and working at every one of the Library’s 27 branches.
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   20. Mr. Spencer performed generalized and particularized tasks for the

Library as a library assistant including, but not limited to, checking in new

materials including books, CDs, DVDs, weeding, collection, management and

related tasks, supervised Summer Reading Club events, supervised the

Library’s Summer Lunch Program, supervised young adults in the Youth

Opportunities Unlimited (YOU) Project, ordered library materials, planned

and coordinated the quarterly adult and children library activities program,

managed the front desks, issued adults and children’s library cards and served

all 27 of the Library’s branches.

   21. In addition to the entry of information into the Library’s computer

system during his service, his focus was customer service which required skill,

patience, experience and personality in order to serve a variety of patrons and

others.

   22. Mr. Spencer participated in the Cleveland Public Library’s Staff

Development Day and was the Lead Worker at the Library’s Broadway Branch

for fourteen (14) month which enhanced Mr. Spencer’s library management

experience.

   23. His work also assisted him in development skills and knowledge

concerning materials maintained within a branch, aiding customers in the use

of Library computers and worked with patrons and Library personnel by

utilizing his many years of military and corporate experience and applying
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those experiences to promote interpersonal relations among all with whom he

came in contact at his assigned branch.

   24. Mr. Spencer has also served as a volunteer and intern at the Louis

Stokes Cleveland Medical Center Medical Library and Patient Education

Resource Center.

   25. From 2015 through 2017, Mr. Spencer served as Concierge and

Docent to the Cleveland Public Library’s main facility.

   26. In 2016, Mr. Spencer was promoted to librarian.

   27. Mr. Spencer has been the face of the Cleveland Public Library at its

main facility.

   28. He has been effective in presenting the Cleveland Public Library’s

history and has conducted multiple tours and explained in detail featured

exhibits.

   29. He has received recognition from guests from around the world for

the enthusiastic and gracious treatment he has offered to the visiting public.

   30. Defendant Cleveland Public Library has publicly stated that Mr.

Spencer excelled as the Library’s Concierge.

   31. In 2018, Mr. Spencer met with Mr. Felton Thomas, Executive

Director of the Cleveland Public Library.

   32. The concept was to advance services to U.S. Veterans and Seniors.


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   33. While Mr. Thomas expressed initial enthusiasm to the concept, it was

ultimately abandoned.

   34. The abandonment of special programs for U.S. Veterans and Seniors

was a troubling event which was difficult to absorb.

   35. So, at the time in 2018, Mr. Spencer applied to be a Branch Manager.

   36. A criterion for the position is two years of supervisory experience in a

leadership position with a community-based organization or professional

association.

   37. The Library was aware that Mr. Spencer met that criterion.

   38. In August, 2019, his position as Concierge was eliminated.

   39. In 2019, the Library lowered its standard, dropping the requirement of

possessing an MLIS degree which Mr. Spencer has.

   40. All that the Library requires now is a bachelor’s degree although the

Library indicated that an MLIS degree would make a candidate for a branch

“preferred.”

   41. In 2018 Mr. Spencer applied for the Branch Manager position at the

Addison Branch.

   42. He was rejected in favor of a younger candidate because the Library

claimed Mr. Spencer was lacking in “leadership experience” despite his

exceedingly stellar industry and military leadership experience.


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   43. In 2018, Mr. Spencer applied for the Branch Manager position at the

East 131st Street Branch because a younger candidate was given a higher

interview score and the Library did not permit him to interview based on the

interview for the Addison Branch position.

   44. He was rejected in favor of a younger candidate despite the fact that

the successful candidate chosen by the Library had less academic credentials

than Mr. Spencer had.

   45. In 2018, Mr. Spencer applied for the Branch Manager position at the

Harvard-Lee Branch.

   46. He was rejected in favor of a younger candidate with less academic

credentials even before the Library lowered the academic standards and even

though Mr. Spencer’s academic credentials were “preferred.”

   47. In 2019, Mr. Spencer applied for the Branch Manager position at the

Martin Luther King, Jr. Branch.

   48. He was rejected in favor of a younger candidate with less academic

credentials even though his academic credentials were “preferred.”

   49. He was additionally rejected because of the old interview with the

Addison Branch a year before and because he had a “lack of managerial

experience,” despite his exceedingly stellar industry and military leadership

experience.


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   50. In 2019, Mr. Spencer applied for the Branch Manager re-opened

position at the Addison Branch.

   51. He was rejected in favor of a younger candidate with less academic

credentials even though his academic credentials were “preferred.”

   52. Mr. Spencer was additionally rejected because of an absence of

“managerial experience,” despite his exceedingly stellar industry and military

leadership experience.

   53. Time after time, the Library has claimed that Mr. Spencer does not

possess leadership and managerial experience and did not possess even

minimal requirements to be a branch manager.

   54. As a result of the acts and conduct of defendant, Mr. Spencer, as the

plaintiff, has suffered in the loss of employment opportunities along with

salary, benefits, retirement and related matters.

   55. As a result of the acts and conduct of defendant Cleveland Public

Library, Mr. Spencer, as the plaintiff, has suffered serious, genuine and

consequential damages including pain, suffering, emotional harm, mental

distress and loss of quality of life.

       56.      The acts and conduct of Defendant Cleveland Public Library

   was intentional, reckless and in wanton and reckless disregard of the rights

   and feelings of Mr. Spencer.


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WHEREFORE, plaintiff respectfully requests the Court to grant the following

relief:

           A.    Declare that the acts and conduct of the
                 defendant constitutes violations of the Age
                 Discrimination in Employment Act of 1967as
                 as amended, 29 U.S.C. §§ 621, et seq., and the
                 Ohio Civil Rights Act, Ohio Revised Code §§
                 4112.01, et seq.,;

           B.    Grant to the plaintiff and against defendant a
                 permanent injunction enjoining defendant, its
                 officers, agents, employees, successors, assigns,
                 and all persons in active concert of
                 participation with it, from engaging in any
                 employment practices which discriminate on
                 the basis of age;

           C.    Order defendant to institute and to otherwise
                 carry out policies, practices and programs
                 which      provide      equal     employment
                 opportunities for all employees, and which
                 eradicate the effects of its past and present
                 unlawful employment practices on the basis of
                 age;

           D.    Order defendant to hire the plaintiff and to
                 make plaintiff whole by providing appropriate
                 back pay with prejudgment interest and for
                 other affirmative relief necessary to eradicate
                 the effects of its unlawful employment
                 practices based on age;

           E.    Grant to plaintiff against defendant
                 appropriate compensatory, exemplary, and
                 punitive damages;

           F.    Award plaintiff costs in this action including
                 reasonable attorney fees provided by statute;

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         G.     Grant such further relief as the Court deems
                just, equitable and in advance of the public
                interest.



                                 /s/ Avery Friedman
                                 Avery Friedman (0006103)
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                    TRIAL BY JURY DEMANDED


Plaintiff William F. Spencer hereby demands trial by jury.

                                 /s/ Avery Friedman
                                 Avery Friedman




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